

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-76,951-01






WILLIE ROLLINS, Relator


v.


 232ND JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 1113805 IN THE 232ND JUDICIAL DISTRICT COURT
	

FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 232nd  Judicial District Court of Harris County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  On January 11, 2012, this
Court held in abeyance and ordered the district clerk to respond as to why the application had not
been forwarded to this Court.  On February 27, 2012, this Court received a response from the district
clerk indicating that the district court entered an order designating issues on June 2, 2011.

	 Respondent, the Judge of the 232nd  Court of Harris County, shall file a response with this
Court by having the District Clerk submit the record on such habeas corpus application.   In the
alternative, the trial court may resolve the issues set out in its order and then have the District Clerk
submit the record on such application.  In either case, the trial court's response shall be submitted
within 30 days of the date of this order.  This application for leave to file a writ of mandamus will
be held in abeyance until Respondent has submitted its response.


Filed: March 28, 2012

Do not publish	


